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                     IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                          §
                                                                 Case No. 22–60043
                                                 §
 FREE SPEECH SYSTEMS, LLC,                       §
                                                                    Chapter 11
                                                 §
                                                                   Subchapter V
           Debtor.                               §


   THE TEXAS PLAINTIFFS’ NOTICE OF DEPOSITION TO PQPR HOLDINGS
           LIMITED, LLC PURSUANT TO FED. R. CIV. P. 30(B)(6)



TO: PQPR Holdings Limited, LLC
    2621 Ridgepoint Drive
    Austin, TX 78754

          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, applicable to this proceeding under Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and

Marcel Fontaine (“Texas Plaintiffs”) will conduct the oral deposition of one or more officers,

directors, agents or other representatives of PQPR Holdings Limited, LLC (“PQPR”) on

October 4, 2022 at 10:00 a.m., prevailing central time, at the law offices of Akin, Gump,

Strauss, Hauer & Feld, LLP, 1111 Louisiana St., 44th Floor, Houston, TX 77002. PQPR shall

produce one or more officers, directors, agents or representatives most knowledgeable and

prepared to testify regarding the topics described in Exhibit A. The Texas Plaintiffs request that

PQPR provide written notice at least five (5) business days before the deposition of the name(s)

and employment position(s) of the individual(s) designated to testify on PQPR’s behalf.




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        The deposition shall be taken before a person duly authorized by law to administer oaths,

and may be recorded by stenographic, audiographic, and/or videotaped means. The deposition

shall continue from day to day thereafter or as otherwise agreed by the parties, until completed.

       Dated: September 16, 2022

                                             Respectfully submitted,
                                             MCDOWELL HETHERINGTON LLP

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                                             Texas Bar No. 24083532
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                                             Houston, Texas 77002
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                                             Counsel for the Texas Plaintiffs
                                             and

                                             CHAMBERLAIN, HRDLICKA, WHITE,
                                               WILLIAMS & AUGHTRY, P.C.

                                             By: /s/ Jarrod B. Martin
                                             Jarrod B. Martin
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                                             Bankruptcy Counsel for Texas Plaintiffs




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                               CERTIFICATE OF SERVICE

       This will certify that on September 16, 2022, a true and correct copy of the foregoing
document was served via electronic transmission to all registered ECF users appearing in the case
and will be sent via first-class, postage prepaid, United States mail on September 19, 2022 as
follows:

    PQPR Holdings Limited, LLC
    2621 Ridgepoint Drive
    Austin, TX 78754

    Stephen W. Lemmon
    Streusand, Landon, Ozburn & Lemmon, LLP
    1801 S. MoPac Expressway
    Suite 320
    Austin, Texas 78746



                                            /s/ Jarrod B. Martin
                                            J arrod B. Martin




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                                          EXHIBIT A

        In accordance with Fed. R. Civ. P. 30(b)(6), Texas Plaintiffs designate the matters
identified below for examination.

      1.      Payments to Alex Jones (directly or indirectly through entities he controls or has an
ownership interest in) since PQPR’s inception.

      2.      Payments to David Jones (directly or indirectly through entities he controls or has
an ownership interest in) since PQPR’s inception.

      3.      Payments to Carol Jones (directly or indirectly through entities she controls or has
an ownership interest in) since PQPR’s inception.

       4.      Communications and documents PQPR exchanged with Blue Asension.

       5.      PQPR’s communications and documents about its product-fulfillment services or
the product fulfillment of Free Speech Systems, LLC (“FSS”).

      6.      Communications and documents exchanged with FSS regarding any debts,
agreements, contracts, promissory notes, invoices, product orders, product sales, and forbearance
agreements—including any negotiations regarding these items.

        7.    Communications between W. Marc Schwartz and PQPR relating to FSS’s alleged
debt to PQPR.

       8.       The item pertaining to PQPR budgeted for in FSS’s proposed 13-week budget in
support of its cash-collateral motion.

      9.       Documents and communications exchanged with FSS regarding FSS’s petition for
bankruptcy.

       10.     Internal documents and communications regarding FSS’s petition for bankruptcy.

       11.      Communications and documents produced by PQPR in response to discovery
requests in this bankruptcy.

       12.    Communications and documents exchanged between PQRP and Alex Jones
regarding Jones’s compensation (including draws, salary, and any other compensation).

       13.    Communications and documents exchanged between PQPR and David Jones since
January 1, 2018.

       14.    Communications and documents exchanged between PQPR and Carol Jones since
January 1, 2018.


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       15.    PQPR’s accounting and bookkeeping since January 1, 2012—including (i) who
was responsible for or helped with its accounting and bookkeeping; (ii) what systems and software
were used for accounting and bookkeeping; and (iii) how accounting and bookkeeping records
were created and kept in the ordinary course of business.

       16.    All employees of PQPR since January 1, 2012.

       17.    The offices and facilities PQPR owns, leases, or operates since January 1, 2012.

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